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                 EXHIBIT B-057
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                                                                              FILEDINOFFICE
                   IN THE SUPERIOR COURT OF FULTON COUNTY
                               STATE OF GEORGIA                                      AUG
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 IN RE 2 MAY 2022 SPECIAL PURPOSE                   2022-EX-000024
 GRANDJURY



                                         RULE NISI

       PLEASE TAKE NOTICE that a hearing on Rudolph William Louis Giuliani's Emergency

Motion to Continue Hearing/Grand Jury Appearance is set before Judge Robert C.I. McBurney on

the 9th day of August 2022, at 12:30 p.m., in Courtroom 8-D.

       SO ORDERED this 8th day of August 2022.



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                                                   Superior Court of Fulton County
                                                   Atlanta Judicial Circuit
